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3262 N. Garey Ave. # 193 l §§ ;: r~_-
Pomona, Ca 91767 '(§;; _o l m
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949-291-2461 1 f ~- bn "."\>.`
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IN THE UNITED STATES DISTRICT COUR'I' ~4 ~

FOR THE EASTERN DISTRICT OF CALIFORNIA

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WAYNET.EVANS ED c Vlb_olzéd

\:‘,.,

Plaintiff,
COMPLAINT

CREDIT FIRST NATIONAL
ASSOCIATION and BRIDGESTONE
AMERICAS TIRE OPERATIONS, LLC
ET. . . AL, DOES 1-200, inclusive

Defendants.

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§ DEMAND FoR JURY TRIAL
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Plaintiff Wayne T. Evans alleges as follows:

The Parties

l. At all times herein after mentioned, plaintiff is and was a resident of Pomona,
California.

2. Defendant, Credit First National Association, Bridgestone Americas Tire Operations,
LLC is a corporation incorporated under the laws of Delaware Corporation and having a
main office at 535 Marriott Drive, Nashville TN 37214, 6275 Eastland Rd, Cleveland,
Ohio 44142.

 

 

 

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3. Defendant, Credit First National Association, Bridgestone Americas Tire Operations,
LLC., is registered with the California Secretary of State as a Delaware Corporation doing
business in California and has designated a registered agent: National Registered Agents,
Inc. Registered Agent, 9 Capitol Street, Concord NH 03301.

Jurisdiction

4. The Court has jurisdiction over this action pursuant to 15 U.S.C. § 1681 et Seq.,
the “F air Credit Reporting Act (FCRA) and 15 U.S.C. §§ 1692-1692p, the “Fair Debt
Collection Practices Act.”

Defendant’s Statutory Violations

5 . The Defendant is reporting derogatory information about Plaintiff to one or more
consumer reporting agencies (credit bureaus) as defined by 15 U.S.C. § 1681a.

6. Plaintiff has disputed the accuracy of the derogatory information reported by the
Defendant to the Consumer Reporting Agency Experian on four separate occasions via
certified mail. See attachments

7. Defendant has not responded to Plaintiff’s four letters of dispute by providing
evidence of the alleged debt to Plaintiff nor to the Consumer Reporting Agency Experian.

8. Defendant has not provided notice of this disputed matter to the credit bureaus
and is therefore in violation of 15 U.S.C. § 1681s-2 Which requires this notice.

9. Defendant has failed to comply with 15 U.S.C. § 1692g in that it has not Within 5
days of Plaintiff’s initial communication (nor at any other time) sent Plaintiff Written
documentation of the amount of the debt, the name of the original creditor nor other
information required by the F air Credit Reporting Act.

10. Defendant has failed to complete an investigation of Plaintiff’s Written dispute
and provide the results of an investigation to Plaintiff Within the 30-day period as required
by 15 U.S.C. § 16815-2.

11. Defendant has not notified Plaintiff of any determination that Plaintiff’s dispute

is frivolous Within the 5 days required by 15 U.S.C. § 1681s-2, nor at any other time.

 

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Prayer for Relief`
12. WHERFORE,

Plaintiff seeks a reasonable and fair judgment against defendant for willfbl
noncompliance of the F air Credit Reporting Act and seeks his statutory remedies as
defined by 15 U.S.C. § 1681n and demands:

$1,000 for actual damages

$25,000 in punitive damages

Permanent injunction against the Defendant from reporting derogatory information about
Plaintiff to Consumer Reporting Agencies (credit bureaus)

Permanent injunction against Defendant for selling this alleged debt to any other party
Any further relief Which the court may deem appropriate

Respectfully Subrnitted,

Wayne T. Evans

Plaintiff, Pro Se

3262 N. Garey Ave. # 193

Pomona, California 91767

(714) 853-0537

email address
Wevans61@yahoo.com

Dared; June 7, 2016 s%:,¢ Jr%/M

Wayr'ie T. Evans
Pro Se

 

 

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PROOF OF SERVICE BY MAIL

I, Jeffrey Antes, declare as follows:

1 arn over eighteen (18) years of age and not a party to the within action. My business
address is 1520 S. Highland Ave Apt B Fullerton, CA 92832. I served a copy of the
attached Respondent
Complaint to each of the following, by placing a true copy thereof in a sealed envelope with
postage fully prepaid, in the United States mail at Fullerton, California, addressed as

follows:
National Registered Agents, Inc.
9 Capitol Street
Concord NH 03301
Tel:
Fax:

Each said envelope was then, on June 8 2016 sealed and deposited in the
United States mail at Fullerton, California, in the County of Orange in which I am
employed. I declare, under penalty of perjury of the laws of the State of California, that
the foregoing is true and correct, and that this Declaration was executed this 8th_ day
of June 2016 at Fullerton, California.

 

 

 

(/ Jeffr/ey Antes

 

